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United States Court of Appeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

No. 19-7027 September Term, 2019
1:16-cv-00236-RJL
Filed On: August 19, 2020 [1857313]

League of Women Voters of the United
States, et al.,

Appellees
V.
Brian D. Newby, in his capacity as the
Executive Director of the United States
Election Assistance Commission, et al.,

Appellees

Eagle Forum Education & Legal Defense
Fund,

Appellant

MANDATE
In accordance with the judgment of June 26, 2020, and pursuant to Federal Rule
of Appellate Procedure 41, this constitutes the formal mandate of this court.
FOR THE COURT:
Mark J. Langer, Clerk
BY: /s/

Daniel J. Reidy
Deputy Clerk

Link to the judgment filed June 26, 2020

 
